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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


                                                    )
 TRANSWEB, LLC,                                     )       CIVIL ACTION NO. 10-04413 (FSH/PS)
                                                    )
                Plaintiff and                       )
                Counterclaim-Defendant,             )
                                                    )
 v.                                                 )       ANSWER TO AMENDED
                                                    )       COUNTERCLAIMS
 3M INNOVATIVE PROPERTIES                           )
 COMPANY and 3M COMPANY,                            )
                                                    )       Electronically Filed
                Defendants and                      )
                Counterclaim-Plaintiffs.            )
                                                    )
                                                    )


          Plaintiff TransWeb, LLC (“TransWeb”) answers the Amended Counterclaim of 3M

 Innovative Properties Company and 3M Company (“3M”) as follows:

          1.    TransWeb admits that 3M has filed an Amended Counterclaim and demand for

 jury trial seeking relief for patent infringement by TransWeb. TransWeb denies that it infringed

 any patents and it denies that 3M is entitled to any relief.

          2.    TransWeb admits the allegations in this paragraph of the Amended Counterclaim.

          3.    TransWeb admits the allegations in this paragraph of the Amended Counterclaim.

          4.    TransWeb admits the allegations in this paragraph of the Amended Counterclaim.



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                                 JURISDICTION AND VENUE

          5.    TransWeb admits that this action, including the Second Amended Complaint and

 the allegations in the Amended Counterclaim, arises under the patent laws of the United States,

 35 U.S.C. §§ 271, 281-285 as well as the antitrust laws of the United States, 15 U.S.C. §§ 1 et

 seq.

          6.    TransWeb admits that this Court has subject matter jurisdiction over this action

 pursuant to 28 U.S.C. §§ 1331 and 1338(a), as well as pursuant to 28 U.S.C. § 2201 and 2202,

 and 15 U.S.C. § 15.

          7.    TransWeb admits that this Court has personal jurisdiction over it under the United

 States Constitution, the laws of the State of New Jersey and the Federal Rules of Civil Procedure.

 TransWeb admits that it has continuous and systematic contacts in New Jersey and that its

 principal place of business is in New Jersey. TransWeb denies the remaining allegations

 contained in this paragraph.

          8.    TransWeb admits that venue is proper in this Judicial District under 28 U.S.C.

 § 1391 and § 1400(b).

                                       PATENTS-IN-SUIT

          9.    TransWeb admits that Patent No. 6,397,458 was issued by the United States

 Patent and Trademark Office on June 4, 2002 but denies that it was issued duly and legally.

          10.   TransWeb admits that Patent No. 6,808,551 was issued by the United States

 Patent and Trademark Office on October 26, 2004 but denies that it was issued duly and legally.

          11.   TransWeb lacks knowledge or information sufficient to form a belief as to the

 truth or falsity of the allegations contained in this paragraph of the Amended Counterclaim, and

 therefore denies them.




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                 Count One – Infringement of United States Patent No. 6,397,458

          12.    TransWeb incorporates by reference paragraphs 1 through 11 above.

          13.    TransWeb denies the allegations contained in this paragraph of the Amended

 Counterclaim.

          14.    TransWeb denies the allegations contained in this paragraph of the Amended

 Counterclaim.

          15.    TransWeb denies the allegations contained in this paragraph of the Amended

 Counterclaim.

          16.    TransWeb denies the allegations contained in this paragraph of the Amended

 Counterclaim.

                 Count Two – Infringement of United States Patent No. 6,808,551

          17.    TransWeb incorporates by reference paragraphs 1 through 16 above.

          18.    TransWeb denies the allegations contained in this paragraph of the Amended

 Counterclaim.

          19.    TransWeb denies the allegations contained in this paragraph of the Amended

 Counterclaim.

          20.    TransWeb admits that some of its customers incorporate TransWeb media into

 end products used to filter contaminants but denies that its customers directly infringe the ‘551

 Patent. TransWeb lacks knowledge or information sufficient to form a belief as to the truth or

 falsity of the remainder of the allegations contained in this paragraph of the Amended

 Counterclaim, and therefore denies them.

          21.   TransWeb denies the allegations contained in this paragraph of the Amended

 Counterclaim.




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          22.   TransWeb denies the allegations contained in this paragraph of the Amended

 Counterclaim.

          23.   TransWeb admits that it produced an email from its Vice President, Mr. Ogale,

 which document speaks for itself, and which document 3M refers to as Ex. 2, but which 3M did

 not file with its Answer to Amended Complaint and Counterclaims and Jury Demand.

 TransWeb denies the rest of the allegations contained in this paragraph of the Amended

 Counterclaim.

          24.   TransWeb admits that its Vice President, Mr. Ogale, stated in the second paragraph

 of his September 7, 2010 Declaration in support of TransWeb’s Motion to Dismiss 3M’s Action

 in the District of Minnesota, which document 3M refers to as Ex. 3, but which 3M did not file

 with its Answer to Amended Complaint and Counterclaims and Jury Demand, that its products

 are “used primarily for removing particulates and other contaminants in the air in industrial,

 commercial and residual filter applications.” TransWeb also admits that in paragraph 11 of Mr.

 Ogale’s September 7, 2010 declaration, he stated that “TransWeb sells a raw material, its media,

 to commercial consumers who incorporate it into their own finished products.” TransWeb

 denies the rest of the allegations contained in this paragraph of the Amended Counterclaim.

          25.   TransWeb denies the allegations contained in this paragraph of the Amended

 Counterclaim.

          26.   TransWeb denies the allegations contained in this paragraph of the Amended

 Counterclaim.

          27.   TransWeb denies the allegations contained in this paragraph of the Amended

 Counterclaim.




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          28.   TransWeb denies the allegations contained in this paragraph of the Amended

 Counterclaim.

    Count Three – Declaratory Judgment of Non-Infringement of United States Patent No.
                                       6,419,871

          29.    TransWeb incorporates by reference paragraphs 1 through 28 above.

          30.    This Count has been dismissed with prejudice pursuant to a Stipulation and Order

 Dismissing TransWeb’s Patent Infringement Claim and 3M’s Inequitable Conduct and Patent

 Misuse Claims and Defenses Relating to United States Patent No. 6,419,871, entered by the

 Court on March 9, 2012, at ECF No. 266. As this Count has been dismissed, no response to the

 allegations in this paragraph is required.

          31.    This Count has been dismissed with prejudice pursuant to a Stipulation and Order

 Dismissing TransWeb’s Patent Infringement Claim and 3M’s Inequitable Conduct and Patent

 Misuse Claims and Defenses Relating to United States Patent No. 6,419,871, entered by the

 Court on March 9, 2012, at ECF No. 266. As this Count has been dismissed, no response to the

 allegations in this paragraph is required.

          32.    This Count has been dismissed with prejudice pursuant to a Stipulation and Order

 Dismissing TransWeb’s Patent Infringement Claim and 3M’s Inequitable Conduct and Patent

 Misuse Claims and Defenses Relating to United States Patent No. 6,419,871, entered by the

 Court on March 9, 2012, at ECF No. 266. As this Count has been dismissed, no response to the

 allegations in this paragraph is required.

   Count Four – Declaratory Judgment of Invalidity of United States Patent No. 6,419,871

          33.    TransWeb incorporates by reference paragraphs 1 through 32 above.

          34.    This Count has been dismissed with prejudice pursuant to a Stipulation and Order

 Dismissing TransWeb’s Patent Infringement Claim and 3M’s Inequitable Conduct and Patent




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 Misuse Claims and Defenses Relating to United States Patent No. 6,419,871, entered by the

 Court on March 9, 2012, at ECF No. 266. As this Count has been dismissed, no response to the

 allegations in this paragraph is required.

          35.   This Count has been dismissed with prejudice pursuant to a Stipulation and Order

 Dismissing TransWeb’s Patent Infringement Claim and 3M’s Inequitable Conduct and Patent

 Misuse Claims and Defenses Relating to United States Patent No. 6,419,871, entered by the

 Court on March 9, 2012, at ECF No. 266. As this Count has been dismissed, no response to the

 allegations in this paragraph is required.

          36.   This Count has been dismissed with prejudice pursuant to a Stipulation and Order

 Dismissing TransWeb’s Patent Infringement Claim and 3M’s Inequitable Conduct and Patent

 Misuse Claims and Defenses Relating to United States Patent No. 6,419,871, entered by the

 Court on March 9, 2012, at ECF No. 266. As this Count has been dismissed, no response to the

 allegations in this paragraph is required.

    Count Five– Declaratory Judgment of Invalidity of United States Patent No. 6,419,871

          37.   TransWeb incorporates by reference paragraphs 1 through 36 above.

          38.   This Count has been dismissed with prejudice pursuant to a Stipulation and Order

 Dismissing TransWeb’s Patent Infringement Claim and 3M’s Inequitable Conduct and Patent

 Misuse Claims and Defenses Relating to United States Patent No. 6,419,871, entered by the

 Court on March 9, 2012, at ECF No. 266. As this Count has been dismissed, no response to the

 allegations in this paragraph is required.

          39.   This Count has been dismissed with prejudice pursuant to a Stipulation and Order

 Dismissing TransWeb’s Patent Infringement Claim and 3M’s Inequitable Conduct and Patent

 Misuse Claims and Defenses Relating to United States Patent No. 6,419,871, entered by the




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 Court on March 9, 2012, at ECF No. 266. As this Count has been dismissed, no response to the

 allegations in this paragraph is required.

          40.    This Count has been dismissed with prejudice pursuant to a Stipulation and Order

 Dismissing TransWeb’s Patent Infringement Claim and 3M’s Inequitable Conduct and Patent

 Misuse Claims and Defenses Relating to United States Patent No. 6,419,871, entered by the

 Court on March 9, 2012, at ECF No. 266. As this Count has been dismissed, no response to the

 allegations in this paragraph is required.

          41.    This Count has been dismissed with prejudice pursuant to a Stipulation and Order

 Dismissing TransWeb’s Patent Infringement Claim and 3M’s Inequitable Conduct and Patent

 Misuse Claims and Defenses Relating to United States Patent No. 6,419,871, entered by the

 Court on March 9, 2012, at ECF No. 266. As this Count has been dismissed, no response to the

 allegations in this paragraph is required.



                                     AFFIRMATIVE DEFENSES

          In asserting the following affirmative defenses to 3M's Amended Counterclaim,

 TransWeb does not concede that it bears the burden of establishing any fact or proposition on

 any issue.

                                FIRST AFFIRMATIVE DEFENSE
                                          (Laches)

          42.    TransWeb incorporates by reference the allegations set forth in paragraphs 33

 through 35 of TransWeb's Second Amended Complaint, filed June 3, 2011.

          43.    Each of the purported causes of action set forth in the Amended Counterclaim is

 barred by the doctrine of laches.




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                                SECOND AFFIRMATIVE DEFENSE
                                         (Invalidity)

          44.   The claims of Patent No. 6,397,458 and Patent No. 6,808,551 are invalid under

 Title 35 of the United States Code, including but not limited to 35 U.S.C. §§ 101, 102, 103, 112,

 200 et seq., and 301 et seq.

                                THIRD AFFIRMATIVE DEFENSE
                                      (Non-infringement)

          45.   No product TransWeb markets, distributes, uses, sells, or offers to sell, infringes

 either Patent No. 6,397,458 or Patent No. 6,808,551.

          46.   TransWeb has not infringed either Patent No. 6,397,458 or Patent No. 6,808,551.


                                FOURTH AFFIRMATIVE DEFENSE
                                     (Inequitable Conduct)

          47.   TransWeb incorporates by reference the allegations set forth in paragraphs 36

 through 76 of TransWeb's Second Amended Complaint, filed June 3, 2011.

          48.   Each of the purported causes of action set forth in the Amended Counterclaim is

 barred by 3M's inequitable conduct.

                                FIFTH AFFIRMATIVE DEFENSE
                                       (Unclean Hands)

          49.   Each of the purported causes of action set forth in the Amended Counterclaim is

 barred by the doctrine of unclean hands.

                              SIXTH AFFIRMATIVE DEFENSE
                         (Prosecution History Estoppel and Disclaimer)

          50.   3M is estopped from asserting its infringement claims against TransWeb under

 the doctrines of prosecution history estoppel and prosecution disclaimer.




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                             SEVENTH AFFIRMATIVE DEFENSE
                                   (Prosecution Laches)

          51.   Each of the purported causes of action set forth in the Amended Counterclaim is

 barred by the doctrine of prosecution laches.

                              EIGHTH AFFIRMATIVE DEFENSE
                                    (Equitable Estoppel)

          52.   Each of the purported causes of action set forth in the Amended Counterclaim is

 barred in whole or in part by the doctrine of equitable estoppel.

                                     PRAYER FOR RELIEF

          53.   TransWeb denies that 3M is entitled to any of the relief set forth in the Prayer for

 Relief in the Amended Counterclaim.

          54.   3M is not entitled to injunctive relief because any alleged injury to them is not

 immediate or irreparable and 3M has an adequate remedy at law.

          55.   TransWeb denies each and every allegation not specifically admitted in this

 Answer to 3M’s Amended Counterclaim.

 Dated: March 12, 2012                           s/ Liza M. Walsh
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